                                                                                Case 3:17-cv-06957-WHA Document 184 Filed 09/28/18 Page 1 of 8



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   SWARMIFY, INC.,                                            No. C 17-06957 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.                                                       ORDER GRANTING IN
                                                                                                                                         PART MOTION FOR
                               For the Northern District of California




                                                                         12   CLOUDFLARE, INC.,                                          ATTORNEY’S FEES
                                                                         13                  Defendant.
                                                                         14                                              /

                                                                         15                                         INTRODUCTION
                                                                         16          In this action for trade secret misappropriation, defendant moves for attorney’s fees and
                                                                         17   costs. For the reasons stated below, the motion is GRANTED IN PART.
                                                                         18                                             STATEMENT
                                                                         19          Plaintiff Swarmify, Inc., a small start-up, formed in 2013 with the sole purpose of
                                                                         20   creating and bringing to market a method for more reliable and affordable internet video
                                                                         21   streaming. In February 2016, Swarmify contacted defendant Cloudflare, Inc., a corporation that
                                                                         22   formed in 2009 and uses a network of data centers to offer reverse-proxy and content delivery
                                                                         23   services to other companies, about a potential business deal. In April 2016, the parties entered
                                                                         24   into a non-disclosure agreement and negotiations ensued. In May 2016, however, negotiations
                                                                         25   broke down and the parties parted ways.
                                                                         26           In September 2017, defendant Cloudflare, Inc., published two blog posts — which
                                                                         27   provoked the instant action — marking the launch of its own video streaming service
                                                                         28   “Cloudflare Stream.” Upon reading the blog posts, Swarmify CEO Nathan Barnett suspected
                                                                              Cloudflare of using Swarmify’s purported proprietary technology in violation of the parties’
                                                                                Case 3:17-cv-06957-WHA Document 184 Filed 09/28/18 Page 2 of 8



                                                                          1   non-disclosure agreement. He quickly raised the issue with Cloudflare’s in-house counsel,
                                                                          2   stating that he was “still operating under the assumption that this [was] just an oversight made
                                                                          3   in the chaos of a fast growing organization” and that he was “happy to resolve in a way that
                                                                          4   makes sense on all sides.” Cloudflare’s in-house counsel promised to investigate. After
                                                                          5   Cloudflare’s failure to follow up, Swarmify again requested, this time formally through its
                                                                          6   counsel, an explanation of the blog post. In December 2017, after Cloudflare again failed to
                                                                          7   respond by Swarmify’s requested October 25 deadline, Swarmify filed this instant action,
                                                                          8   alleging trade secret misappropriation and related state law violations (Dkt. No. 167-1 ¶¶ 4–7,
                                                                          9   Exh. 3).
                                                                         10          Later the same day this action was filed, Cloudflare responded, claiming it had evidence
                                                                         11   disproving misappropriation of Swarmify’s technology and that it would provide Swarmify with
United States District Court




                                                                         12   that evidence by the end of that week. Swarmify’s counsel requested that the purported
                               For the Northern District of California




                                                                         13   evidence be shared under a protective order, stated that Swarmify would “of course not continue
                                                                         14   to pursue the case” if the evidence disproved its case, and further requested Cloudflare to
                                                                         15   provide a protective order agreement. Six days later, when no protective order agreement was
                                                                         16   offered, Swarmify served its complaint on Cloudflare. Upon being served, Cloudflare then
                                                                         17   responded, stating that it would send Swarmify an agreement. On December 22, 2017, when no
                                                                         18   agreement or evidence materialized one week after, Swarmify filed its motion for preliminary
                                                                         19   injunction. On February 27, 2018, the motion was denied (Dkt. No. 83; Dkt. No. 167-7 ¶¶ 2, 5,
                                                                         20   7, Exh. 1).
                                                                         21          Swarmify maintains that throughout most of this litigation, Cloudflare’s defense rested
                                                                         22   on the grounds that Swarmify’s video streaming technology did not constitute a trade secret
                                                                         23   because (1) many parts of the technology are publicly available, and (2) Cloudflare created the
                                                                         24   technology at issue independently. On May 9, however, Cloudflare “sprung a new defense”
                                                                         25   during a mediation session supervised by Judge Jacqueline Corley that “radically altered this
                                                                         26   case” — namely,
                                                                         27
                                                                         28                 Upon confirming this new defense, Swarmify sought to settle with Cloudflare.


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                                                                          1   When settlement talks fell through, Swarmify moved to dismiss the instant action — initially
                                                                          2   without prejudice on June 14, and subsequently with prejudice pursuant the undersigned judge’s
                                                                          3   advisement during the hearing on Swarmify’s request to stay discovery pending ruling on the
                                                                          4   motion to dismiss. On July 10, the instant action was dismissed with prejudice (Dkt. Nos. 135,
                                                                          5   145, 150, 167 at 8; Dkt. No. 167-1 ¶ 8).
                                                                          6          Cloudflare now moves for attorney’s fees and costs under the California Uniform Trade
                                                                          7   Secrets Act, the federal Defend Trade Secrets Act, and the Court’s inherent powers to award
                                                                          8   attorney’s fees. Specifically, Cloudflare seeks attorney’s fees and costs — amounting to
                                                                          9   $199,599.71 — incurred following the February 27 order denying Swarmify’s motion for
                                                                         10   preliminary injunction until the case was dismissed with prejudice on July 10. Cloudflare
                                                                         11   contends that since at least the order denying the motion for preliminary injunction, Swarmify
United States District Court
                               For the Northern District of California




                                                                         12   maintained the instant action in bad faith.
                                                                         13          This order follows full briefing and oral argument.
                                                                         14                                                 ANALYSIS
                                                                         15          Under the California Uniform Trade Secrets Act and the federal Defend Trade Secrets
                                                                         16   Act, a prevailing party may be awarded reasonable attorney’s fees and costs if a claim of
                                                                         17   misappropriation is made in bad faith. CAL. CIV. CODE § 3426.4; 18 U.S.C. § 1836(b)(3)(D).
                                                                         18   Courts also have the inherent authority to award attorney’s fees. Tapgerine, LLC v. 50Mango,
                                                                         19   Inc., No. C 16-06504 WHA, 2017 WL 1956874, at *1 (N.D. Cal. May 11, 2017).
                                                                         20          Because neither the California Uniform Trade Secrets Act nor the federal Defend Trade
                                                                         21   Secrets Act defines “bad faith” in the context of trade secret misappropriation, “courts generally
                                                                         22   adopt a two-pronged standard for the evaluation of such claims.” Farmers Edge Inc. v.
                                                                         23   Farmobile, LLC, No. C 16-191, 2018 WL 3747833, at *6 (D. Neb. Aug. 7, 2018) (Judge Joseph
                                                                         24   F. Bataillon). The party seeking attorney’s fees must show (1) the objective speciousness of the
                                                                         25   claim, and (2) the subjective bad faith in bringing or maintaining the claim. CRST Van
                                                                         26   Expedited, Inc. v. Werner Enterprises, Inc., 479 F.3d 1099, 1111 (9th Cir. 2007) (quoting
                                                                         27   Gemini Aluminum Corp. v. California Custom Shapes, Inc., 95 Cal. App. 4th 1249, 1262
                                                                         28   (2002)).


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                                                                                 Case 3:17-cv-06957-WHA Document 184 Filed 09/28/18 Page 4 of 8



                                                                          1                Objective speciousness “exists where the action superficially appears to have merit but
                                                                          2    there is a complete lack of evidence to support the claim.” Gabriel Techs. Corp. v. Qualcomm
                                                                          3    Inc., No. C 08-1992 AJB (MDD), 2013 WL 410103, at *7 (S.D. Cal. Feb. 1, 2013), aff’d, 560 F.
                                                                          4    App’x 966 (Fed. Cir. 2014) (Judge Anthony J. Battaglia) (quoting FLIR Sys., 174 Cal. App. 4th
                                                                          5    at 1276 (2009). “Objective speciousness may be shown by, among other factors, demonstrating
                                                                          6    that there was no misappropriation or threatened misappropriation or that the opposing party
                                                                          7    could not have suffered any economic harm.” Ibid.
                                                                          8                Subjective bad faith “means the action was commenced or continued for an improper
                                                                          9    purpose, such as harassment, delay, or to thwart competition.” SASCO v. Rosendin Elec., Inc.,
                                                                         10    207 Cal. App. 4th 837, 847 (2012). “The timing of the action may raise an inference of bad
                                                                         11    faith. Similar inferences may be made where the plaintiff proceeds to trial after the action’s
United States District Court
                               For the Northern District of California




                                                                         12    fatal shortcomings are revealed by opposing counsel.” FLIR Sys., Inc. v. Parrish, 174 Cal. App.
                                                                         13    4th 1270, 1278 (2009) (citations omitted). “The absence of evidence alone, even after
                                                                         14    discovery,” however, “does not support a finding of subjective bad faith.” SASCO, 207 Cal.
                                                                         15    App. 4th at 847.
                                                                         16                This order finds that the record, as a whole, does not provide sufficient evidence to infer
                                                                         17    subjective bad faith while Swarmify pursued its claims against Cloudflare’s original defenses.
                                                                         18    Upon learning of and confirming Cloudflare’s new defense raised during mediation, however,
                                                                         19    Swarmify should have immediately sought to dismiss the instant action, as the new defense
                                                                         20    unquestionably rendered Swarmify’s misappropriation claim objectively specious. This order
                                                                         21    therefore finds that Swarmify maintained the instant action in bad faith from May 23, after
                                                                         22    Swarmify verified Cloudflare’s new defense, to June 10, right before Swarmify first offered to
                                                                         23    dismiss this case.1
                                                                         24                First, the timing of Swarmify’s conduct indicates that Swarmify’s initial primary
                                                                         25    concern in bringing this suit — regardless of how specious its claims may be — was to protect
                                                                         26    its alleged trade secrets. For example, soon after Cloudflare published the two blog posts that
                                                                         27
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                                                                                         The parties have agreed to disclose confidential settlement material for the purposes of this motion,
                                                                              notwithstanding the provisions of Federal Rule of Evidence 408 and ADR Local Rule 7-4 (Dkt. No. 168).

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                                                                          1   set off the instant litigation, Swarmify’s CEO emailed Cloudflare’s in-house counsel, stating
                                                                          2   that he believed the posts described Swarmify’s trade secrets but that he was giving Cloudflare
                                                                          3   the benefit of the doubt, and expressing his desire to resolve the issue “in a way that makes
                                                                          4   sense on all sides” (Dkt. No. 167-1, Exh. 3). Moreover, Swarmify continuously expressed its
                                                                          5   desire to take Cloudflare up on its offer to see evidence disproving misappropriation (see, e.g.,
                                                                          6   Dkt. No. 167-7, Exh. 1).
                                                                          7          Second, Cloudflare suggests that Swarmify’s continued pursuit of the instant action at
                                                                          8   least since the order denying Swarmify’s motion for preliminary injunction shows that
                                                                          9   Swarmify knowingly pursued a meritless claim in bad faith. It is true that previous orders,
                                                                         10   including the preliminary injunction order, have expressed skepticism over the merits of
                                                                         11   Swarmify’s trade secret claims, particularly given Swarmify’s ever-shifting descriptions of its
United States District Court
                               For the Northern District of California




                                                                         12   technology. This order, however, does not find Swarmify’s continued advocacy of its trade
                                                                         13   secret claims (before learning of the new defense) — regardless of their merits — as evidence
                                                                         14   amounting to subjective bad faith. As Swarmify notes, the preliminary injunction order
                                                                         15   explicitly declined to reach the likelihood of success of Swarmify’s claims (Dkt. No. 88 at 10).
                                                                         16   And, the instant action was dismissed before any further chance to reach the merits of
                                                                         17   Swarmify’s trade secret claims (and Cloudflare may not use a motion for attorney’s fees as a
                                                                         18   backdoor way to do so).
                                                                         19          As for Swarmify’s amended disclosures, Swarmify clarified that it believed the order
                                                                         20   denying its motion for preliminary injunction amounted to “an instruction to provide
                                                                         21   clarification on [Swarmify’s] claimed trade secrets” and that if that was not the message of the
                                                                         22   order, it would be “content to stand on its Original Disclosure” (Dkt. No. 107 at 2). After the
                                                                         23   order granting in part Cloudflare’s motion to strike the amended disclosures gave Swarmify an
                                                                         24   option between the two disclosures (subject to conditions), Swarmify chose to stick with its
                                                                         25   original disclosures (Dkt. Nos. 123 at 5–6; 124). As such, Swarmify’s amended disclosures do
                                                                         26   not, under the current record, support a finding of subjective bad faith.
                                                                         27          Third, Cloudflare contends that it has borne much of the discovery burden following the
                                                                         28   hearing for motion for preliminary injunction and that Swarmify had “refused” to participate in


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                                                                                Case 3:17-cv-06957-WHA Document 184 Filed 09/28/18 Page 6 of 8



                                                                          1   discovery. As such, according to Cloudflare, Swarmify used written and document discovery
                                                                          2   “as a cost-effective way to impose asymmetrical discovery costs on Cloudflare in an attempt to
                                                                          3   create settlement leverage” (Dkt. No. 156 at 6). As Swarmify points out, however, once
                                                                          4   Cloudflare revealed its new defense during mediation, Judge Corley directed Cloudflare to
                                                                          5   produce documents responsive to Swarmify’s requests for production to enable Swarmify to
                                                                          6   verify Cloudflare’s new defense (Dkt. No. 167-7 ¶ 9).
                                                                          7           Moreover, Swarmify itself sought to dismiss its own case. Clearly, Swarmify’s reason
                                                                          8   for dispensing with discovery was because it chose not to prosecute its own case at that stage
                                                                          9   rather than for some other bad faith purpose. This is reflected in its request to stay discovery
                                                                         10   pending ruling on its initial motion to dismiss without prejudice, as Cloudflare itself continued
                                                                         11   to seek discovery (see Dkt. No. 139). Stilwell Development Inc. v. Chen, No. C 86-4487, 1989
United States District Court




                                                                         12   WL 418783, at *5 (C.D. Cal. Apr. 25, 1989) (Judge George H. King), is thus distinguishable,
                               For the Northern District of California




                                                                         13   which Cloudflare cites for the proposition that “knowing persistence in an invalid claim also
                                                                         14   demonstrates . . . subjective bad faith in causing the needless expenditure of money in defense
                                                                         15   of the trade secret claim.” There, the plaintiffs knew they had no proof of trade secret
                                                                         16   misappropriation, yet pursued the claim through their case in chief — and caused needless
                                                                         17   expenditure in defense. Ibid. As such, though Cloudflare bore the lion’s share of the discovery
                                                                         18   process, the record does not sufficiently suggest the ulterior motives of which Cloudflare
                                                                         19   accuses Swarmify.
                                                                         20           Fourth, Cloudflare mischaracterizes Swarmify’s initial desire to dismiss this action
                                                                         21   without prejudice. There is no indication that Swarmify sought a “mulligan” in order to “refile
                                                                         22   its case, in a different forum, and free from” this Court’s rulings, as Cloudflare asserts (Dkt. No.
                                                                         23   156 at 7). Rather, the record indicates that Swarmify, recognizing its premature action, sought
                                                                         24   to maintain the ability to protect what it believes are its trade secrets
                                                                         25                                                                   (see Dkt. No. 135 at 7). Swarmify
                                                                         26   itself offered to agree to require any future-filed suit to be returned to this Court in the same
                                                                         27   procedural posture. This evidences its good faith in seeking dismissal (id. at 11–12).
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                                                                                Case 3:17-cv-06957-WHA Document 184 Filed 09/28/18 Page 7 of 8



                                                                          1          Fifth, this order is not persuaded that Swarmify’s initial conduct during settlement
                                                                          2   discussions demonstrates subjective bad faith. Swarmify’s initial settlement demands proffered
                                                                          3   in its settlement statement — which were made before learning of Cloudflare’s new defense —
                                                                          4   were not so inflammatory such that they demonstrate bad faith. The settlement demands, even
                                                                          5   if arguably excessive, were negotiating standpoints.
                                                                          6          Upon learning of and confirming Cloudflare’s new defense, however, Swarmify should
                                                                          7   have immediately sought to dismiss the instant action. At the May 9 mediation session
                                                                          8   supervised by Judge Corley, Cloudflare revealed its new defense that
                                                                          9                                                              — at which point Swarmify readily
                                                                         10   conceded that, if the defense was proven true, it no longer had a case and was therefore ethically
                                                                         11   prohibited from moving forward with its misappropriation claim (Dkt. No. 167-1 ¶ 8).
United States District Court




                                                                         12          Based on Cloudflare’s revelation during mediation, Judge Corley set a schedule to allow
                               For the Northern District of California




                                                                         13   Swarmify to confirm the veracity of Cloudflare’s newly asserted defense. A phone call between
                                                                         14   Swarmify CEO Nathan Barnett and a Cloudflare engineer was set for May 22, during which Mr.
                                                                         15   Barnett could (and did) confirm Cloudflare’s new defense. Judge Corley also instructed
                                                                         16   Cloudflare to produce by May 14 documents showing
                                                                         17                              so that Mr. Barnett could discuss them with the Cloudflare engineer
                                                                         18   if necessary (Dkt. No. 167-1 ¶ 9; Dkt. No. 172, Exh. 4).
                                                                         19          On June 11, Swarmify offered during settlement discussions to dismiss the instant action
                                                                         20   without prejudice — a procedural posture it believed was necessary to retain the ability to bring
                                                                         21   a future misappropriation claim
                                                                         22                              . When it became clear that Cloudflare would only agree to a
                                                                         23   dismissal with prejudice — a procedural posture Cloudflare believed would prohibit Swarmify
                                                                         24   from ever bringing a misappropriation claim again — Swarmify moved to dismiss without
                                                                         25   prejudice on June 14.
                                                                         26          Swarmify argues that Cloudflare
                                                                         27                                                                     (Dkt. No. 174 at 2). Instead,
                                                                         28   Cloudflare “wast[ed] the time of Swarmify and its counsel” by “permitt[ing] Swarmify to go on


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                                                                                   Case 3:17-cv-06957-WHA Document 184 Filed 09/28/18 Page 8 of 8



                                                                          1    believing for seven months after Swarmify first raised the issue” that
                                                                          2                                               (Dkt. No. 174 at 5; Exh. 4 at 4–5). It was thus Cloudflare’s
                                                                          3                                                , Swarmify argues, that instigated this action and therefore
                                                                          4    its attempt to settle was warranted. During these settlement talks, Swarmify asserted that it had
                                                                          5    a                                                                       and thus it may bring a separate
                                                                          6    action to pursue the claim (Dkt. No. 172, Exh. 4 at 4–5).
                                                                          7               The fact remains, however, that Swarmify was ethically obligated to drop its
                                                                          8    misappropriation claim once Cloudflare proved its new defense on May 22 (as Swarmify itself
                                                                          9    readily concedes) — a defense which indisputably rendered Swarmify’s misappropriation claim
                                                                         10    objectively specious. Swarmify failed to do so and instead attempted to settle (and thus extract
                                                                         11    some gain from Cloudflare) before offering to freely dismiss the case (without prejudice) on
United States District Court




                                                                         12    June 11. Its failure to do so immediately is sufficient to infer subjective bad faith. This order
                               For the Northern District of California




                                                                         13    thus finds that Swarmify maintained the instant action in bad faith from May 23 to June 10 and
                                                                         14    accordingly awards Cloudflare attorney’s fees and costs for this time period in the amount of
                                                                         15    $9,730.50.2
                                                                         16                                                   CONCLUSION
                                                                         17               For the foregoing reasons, Cloudflare’s motion for attorney’s fees and costs is
                                                                         18    GRANTED IN PART. Cloudflare is hereby awarded $9,730.50 in fees and costs.
                                                                         19
                                                                         20               IT IS SO ORDERED.
                                                                         21
                                                                         22    Dated: September 28, 2018.
                                                                                                                                                 WILLIAM ALSUP
                                                                         23                                                                      UNITED STATES DISTRICT JUDGE
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                                                                         28           2
                                                                                          This order notes that Swarmify does not dispute the reasonableness of Cloudflare’s requested
                                                                              attorney’s fees and costs.

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